    Case: 2:22-mj-00405-CMV Doc #: 13 Filed: 07/01/22 Page: 1 of 2 PAGEID #: 34




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO


 UNITED STATES OF AMERICA,
                                                          CASE NO. 2:22-mj-00405
                Plaintiff,

        vs.

 AVA MISSELDINE,

                Defendant.



                   JOINT MOTION FOR WAIVER OF SPEEDY TRIAL

       Now comes the United States, by and through its counsel, Timothy Landry, Special

Assistant U.S. Attorney, with the consent of the defendant through her attorneys, moving this

Court for a waiver of the speedy trial time period stated in 18 U.S.C. § 3161(b) wherein it is

stated that any information or indictment charging an individual with the commission of an

offense shall be filed within thirty days from the date on which such individual was arrested or

served with a summons in connection with such charges.

       The Defendant was charged in a complaint on June 8, 2022. She was arrested in Utah on

June 9, 2022. She was detained and transported to Columbus, arriving on June 24, 2022. The

current deadline for the government to indict the defendant is July 9, 2022.

       The parties are engaged in good faith discussions regarding a possible pre-indictment

resolution of the case, but need more time to complete this process, particularly because the

defendant only arrived in this district seven days ago. A continuance would best serve the

interests of justice and the time would be excludable pursuant to 18 U.S.C. § 3161(h)(7).
    Case: 2:22-mj-00405-CMV Doc #: 13 Filed: 07/01/22 Page: 2 of 2 PAGEID #: 35




       For these reasons, the government hereby moves the Court to grant a continuance of an

additional month, which would give the government up to and including August 9, 2022 to

obtain an indictment if the case cannot be resolved prior to indictment.

       The defense consents to this motion.



                                              Respectfully submitted,

                                              KENNETH L. PARKER
                                              UNITED STATES ATTORNEY

                                              /s/ Timothy Landry
                                              TIMOTHY LANDRY (MA 669554)
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                                    CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Motion was served on July 1, 2022

electronically on all parties of record via the CM/ECF system.

                                              s/Timothy Landry
                                              TIMOTHY LANDRY (MA 669554)
                                              Special Assistant U.S. Attorney



MOTION GRANTED:



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UNITED STATES MAGISTRATE JUDGE
